                        Case 2:15-cv-00641-DAK Document 1 Filed 09/04/15 PageID.1 Page 1 of 1

 JS 44 (Rev 12112)
                                                                                 CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein netthcr replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provtded ~Y local. rules of court. This form, approved by the Judtcial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of llllttatmg the CIVil docket sheet. (SE/i INS11WCT/ONS ON NEXT PAGE OF THIS HJ/1/vl.)

 I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
 Linda Johnson                                                                                                       UHS of Provo Canyon, Inc.


      (h) County ofRestdence of First Listed Plaintiff               Wa_~l)ington                                       County of Residence of First Listed Defendant                        Jl!a1l
                                    (EXC!iPT IN U.S. PIAIN11FF CASES)                                                                                       {IN U.S PI.AINrJFFCASHSONI.Y)
                                                                                                                        NOTE:        IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                     TilE TRACT OF LAND INVOLVED

      (C) Attorneys (Firm Name, Address, and 7i!lephone Number)                                                          Attorneys (lfKnown)
 Randall L. Jeffs
 Jeffs & Jeffs, P.C., 90 North 100 East, Provo UT 84606
 801-373-8848

 II. BASIS OF JURISDICTION (J'tacean"X"inOneBnxonty)                                                    Ill. CITIZENSHIP OF PRINCIPAL PARTIES(Piacean                                                     "X"inOneRnxforl'tn;n,!ff
                                                                                                                 (For Diversity Cases On/)1                                                      and t Jne Ho). .fhr Defimdanf)
 0    I   U S, Government                ~ 3    Federal Question                                                                           PTF                                                                      PTF       DEF
            Plointiff                             (U.S Govcrnmem Not a Parry)                               Citizen ofThis State           C!l: I                           Incorporated or Principal Place        0     4    C!!l: 4
                                                                                                                                                                              of Business lnl11is State

 0 2      US. Govemment                  0 4 Diversity                                                      Cit1zr;:n of Anothe•· State            0    2      0        2   1ncorporatcd and Principal Place       0     5    0 5
            Dt.!fenda11t                           (Jndkate Ctltzc.mship   ajParlit~s   in Item Ill)                                                                           of Business In Another State

                                                                                                            Citizen or Subject of a                n    3      0     3      Foreign Nation                         0     6    06
                                                                                                              fore1 111 Comlll
 IV. NATURE OF SUIT (Place an                       "X" in One Box Only)
             .()NTRA'                  {d:'tc,\t''fJ"'t' '.!·~>,,U¥~.•\ ''~:\,Yl'OR'l'S/\IJ,"({\f£(/i.,:,;r,,..\JMKtn"t '''<FORFElTllREIPENALTY,},, ;. ; ,, ·' ,,,IJANKRUPTC y·,,,;;"'>"~' "*'''"''OTHER 'STATUTES;i)'iJii·J
 0 II 0 Insurance                          PERSONAL INJURY                   PERSONAL INJURY                0 625 Drug Related Seizmc                   0 422 Appeal 2K USC !58                 0 375 False Claims Aot
 0 120 Marine                          0 3 I 0 Airplane                  0 365 Personal Injury -                  of Property 2 I USC 881               0 423 Withdrawal                        0 400 State Reapportionment
 0 130 Miller Act                      0 315 Airplane Product                   Product Liability           0 690 Other                                            28   usc   157               0 410 Antitrust
 0 140 Negotiable Instrument                    Liability                0 367 Health Care/                                                                                                     0 430 Banks and Banking
 0 150 Recovery of Overpayment         0 320 Assault, Libel &                  Plmrmaceutical                                                            ....... PROPER'I'V I                   0   450 Commerce
          & Enforcement of Judgment          Slander                           Personallnjury                                                           0 820 Copyrights                        0   460 Dc:pc•t1ation
0 151 Medicare Act                     0 330 Federal Employers'                Product Liability                                                        D 830 Patent                            0 470 Racketeer Influenced and
0 152 Recovery of Defaulted                  Liability                   0 368 Asbestos Pc1 sonal                                                       0 840 Tradema1 k                              Cormpt Organizations
       Student Loans                   0 340 Marine                            Injury Product                                                                                                   0 480 Consumer Credit
       (Excludes Veterans)             0 345 Marine Product                    Liability      \.''";,. '·'''"';. iLABORi· . , . , .. ,                  .. s        I L SECURITY'',,,,,,'       0 490 Cablo:/Sat TV
0 I 53 Recovery of Overpayment               Liability                      PERSONAL PROPERTY 0 710 Fair Labor Standards                                0 861      HIA I 1395fl)                0 850 Securities/Commodities/
       ofVeteran's Benefits            0 350 Motor Vehicle               0 370 Other Fraud                          Act                                 0 862      Black Lung (923)                   Exchange
0 160 Stockholders' Suits              0 355 Motor Vehicle               LJ 371 Tmth in Lending             0   720 Labor/Management                    0 863      DIWCIDIWW (405(g))           0 890 Other Statutory Actions
n 190 Other Contract                         Product Liability          0 380 Other Personal                         Rcl~tions                          0 864      SSID Title XVI               0 891 Agrkultural Acts
0 19S Contract Product Liability       0 360 Other Personal                   Property Damage               0 740 Railway Labor t\ct                    0 865      RSJ (405(g))                 0 893 E1wironmental Matters
0 196 Franchise                                Jnju1y                   0 385 Property Damage               0 75 I Family and Medical                                                           0 895 freedom of Information
                                       0 362 Personal JnjUly-                 Product Liability                    Leave Act                                                                             Act
                                               Medical Malpractice                                          0 790 Other Labor Lit1gation                                                        0 896 Arbilration
                                                                        iPRIS ONER'PETITIONS'·'· 0 791 Employee Retirement                              ,,; ., FEl>ERAL'TAXSliiTS . i           0   R99 Admmistrative Procedure
n    210 Land Condemnation             0 440 Other Civ1l Rtghts            Habeas Corpus:                           Income Security Act                 0 870 Taxes (U S Plaintiff                      AcliReviCW or Appeal of
0    220 Foreclosure                   0 441 Voting                      0 463 Alien Detainee                                                                      or Defendant)                        Agency Decision
0    230 Rent Lease & Eje~o:tment      t:!f 442 Employment               0 510 MDtions to Vacate                                                        0 R71 IRS-Third Party                   0 950 ConStlllltionality of
0    240 Torts to Land                 0 443 Housing/                     Sentence                                                                            26 usc 7(>09                              State Statutes
0    245 Tort Product LHJbility              Accommodations         0 530 General
0    290 All Other Real Property       0 445 Amcr. w/Disabilities ~ 0 535 Death Penalty                            ... IMMIGRATION,, .
                                             Employment               Othe1·:                               0 462 Nalllraliztttion Apphcatum
                                       0 446 /\mer. w/Disabilities- 0 540 Mandamus & Other                  0 465 Other Immigration
                                             Other                  0 550 Civ1! Rights                            Actions
                                       0 44R Education                  n
                                                                      555 Prison Condition
                                                                    0 560 Civil Detainee~
                                                                          C'ondilions of
                                                                          Confinement

V, ORIGIN               (Place an "X" in One Box OnM
)11( J Original              0 2 Removed from                Cl 3      Remanded from                   0 4 Reinstated or           0 5 Transferred from                     0 6 Multidistrict
          Proceeding             State Court                           Appellate Court                     Reopened                    Another District                         Litigation
                                                                                                                                           (~pecifi')

                                            Cite the U.S Civil Statute under which you are filing               (Do not dtejuri.,·rffc:thmrtJ .\Uifliles wries.,- tliver.,·i(!:):

VI. CAUSE OF ACTION J-:2:::9:...:U::,:·:::.S:.::.C:.:..·~S.:::.ec::::.·-,:::.6:.2: :...:..
                                                                                      1
                                                                                           ------------------------------­
                                            Bncr descriptiOn or cause:
                                            Age Discrimination in Employment
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                         DEMANDS                                                 CHECK YES only if demanded in complatnt:
     COMPLAINT:            UNDER RULE 23, F.R.Cv.l'                                                               150,000.00                                            ,JURY DEMAND:        CJ Yes    0 No
VIII. RELATED CASE(S)
                       (.\"ee 111\"/f"IIC.'IIons).
      IF ANY                                       JUDGE                                                                                                    DOCKET          NUMf~ER

DATE
09/04/2015
FOil OFFICE LJSt: ONLY

     RECEIPT II                     AMOUNT
                                                                                                                                                Case: 2: 15-cv-00641
                                                                                                                                                Assigned To: Kimball, Dale A
                                                                                                                                                Assign. Date: 9/4/2015
                                                                                                                                                Description: Johnson v. UHS of Provo
                                                                                                                                                Canyon et al
